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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

CARLA HOOVER, et al.,
                                                     Case No. 2:19-cv-1453
                       Plaintiffs,
                                                     Judge George C. Smith
       v.
                                                     Magistrate Judge Kimberly A. Jolson
STEVEN G. ROSSER, et al.,

                       Defendants.                          NOTICE OF SETTLEMENT



       Please take notice that the parties in the above-captioned lawsuit reached a settlement that

is dependent on approval by Columbus City Council. If and when that settlement is approved,

Plaintiffs will file a dismissal of their claims. The City of Columbus is currently in the process of

getting the matter on City Council’s agenda.

Respectfully submitted,



/s/ David A. Goldstein per email authority         /s/ Westley M. Phillips
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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 29, 2020, I electronically filed the foregoing with the

Clerk of the Court by using this Court's e-Filing System, which will send a notice of this

electronic filing to counsel of record.

                                            /s/ Westley M. Phillips
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